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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
Fabric Selection, Inc.                                              CASE NUMBER

                                                                                     2:18-cv-04626 DSF(Ex)
                                                    PLAINTIFF(S)
                              v.
Topson Downs of California, Inc. et al                                      ORDER RE TRANSFER PURSUANT
                                                                              TO GENERAL ORDER 16-05
                                                                                  (RELATED CASES)
                                                   DEFENDANT(S).

                                                             CONSENT

      I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to General Order 16-05.

                 June 1, 2018                                      Christina A. Snyder
                    Date                                           United States District Judge

                                                         DECLINATION
      I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:




                      Date                                         United States District Judge

                                REASON FOR TRANSFER AS INDICATED BY COUNSEL
      Case 2:17-cv-05721 CAS(AFMx) and the present case:

 ✔    A.        Arise from the same or closely related transactions, happenings or events; or
 ✔    B.        Call for determination of the same or substantially related or similar questions of law and fact; or
 ✔    C.        For other reasons would entail substantial duplication of labor if heard by different judges; or
      D.        Involve one or more defendants from the criminal case in common, and would entail substantial
                duplication of labor if heard by different judges (applicable only on civil forfeiture action).


                                             NOTICE TO COUNSEL FROM CLERK
           Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby
transferred from Magistrate Judge                     Eick               to Magistrate Judge            MacKinnon                 .

           On all documents subsequently filed in this case, please substitute the initials CAS(AFMx) after the case number
in place of the initials of the prior judge, so that the case number will read    2:18-cv-04626 CAS(AFMx)        . This is very
important because the documents are routed to the assigned judges by means of these initials


cc:        Previous Judge       Statistics Clerk
CV-34 (10/16)                   ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 16-05 (Related Cases)
